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                             Exhibit 2
Case: 1:24-cv-05419 Document #: 1-1 Filed: 06/27/24 Page 2 of 8 PageID #:14
Case: 1:24-cv-05419 Document #: 1-1 Filed: 06/27/24 Page 3 of 8 PageID #:15
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